             Case 2:20-cv-00488-RMP                  ECF No. 10          filed 06/08/21     PageID.30 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                          FILED IN THE
                                                                  for th _                                 U.S. DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington


                                                                                                             SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No.
                                                                     )
                                                                     )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

   the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                                the amount of
                                                                            dollars ($             ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of           % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .
    other:




This action was (check one):
   tried by a jury with Judge                                                                        presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         without a jury and the above decision
was reached.

    decided by Judge




Date:                                                                       CLERK OF COURT




                                                                                              Deputy Clerk
